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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                    Case No.: 9:25-cv-80262

   CARY CANTNER, on behalf of himself and
   others similarly situated,

                     Plaintiff,
                                                CLASS ACTION
                     v.

   GAME OF SILKS, INC., DAN NISSANOFF,
   TROY LEVY, TROPICAL RACING, INC.,
   RON LUNIEWSKI, and DEREK CRIBBS,

                     Defendants.


                   AMENDED COMPLAINT FOR VIOLATIONS OF
                       THE FEDERAL SECURITIES LAWS

                                  DEMAND FOR JURY TRIAL
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         Plaintiff (as defined herein), by and through his attorneys, alleges the following upon

  information and belief, except as to allegations concerning Plaintiff, which are alleged upon

  personal knowledge. Plaintiff’s information and belief are based upon, among other things, his

  counsel’s investigation, which includes, without limitation, review and analysis of press releases,

  new articles, websites, state corporate filings, other publicly available information concerning the

  Defendants (as defined herein) and Game of Silks NFTs (“Game of Silks NFTs” or the “Security”

  or “Securities”).

  I.     NATURE OF THE ACTION

         1.      Defendants created a company to build a computer game called Game of Silks that

  brought real-life horse racing to the metaverse. Participants could invest in virtual versions of real

  racehorses and, when the racehorses won at the race track, the owners of the virtual horses would

  win real money—roughly 1% of the racehorse’s real earnings. Defendants promoted the game as

  a way for investors like the Plaintiff and the Class (defined below) to get the virtual experience of

  owning and managing racehorses and see a healthy return on their investment as the game

  succeeded.

         2.      The Game of Silk software relied on cryptocurrency and web3 technologies.

  Specifically, investors could purchase various crypto assets that would allow them own avatars

  (which were like jockeys), racehorses, parcels of land, and stables in the game’s metaverse. Each

  of these crypto assets were sold as non-fungible tokens (“NFTs”) that could be purchased and sold

  in the online economy. For example, the Defendants released two “seasons” of racehorse NFTs

  (the “Horse NFTs”), and each season was a collection that represented real racehorses born in one

  year. Defendants also promised that the investors could combine their parcels of Land NFTs in

  the game’s metaverse in order to build stables, where they could earn money by charging rent to

  stable other players’ Horse NFTs. Since many of the real-life race horses would never win in real


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  races and therefore never win money in the virtual game, the Defendants promised that the

  investors could diversify their risks by owning shares of horses or combining their horse

  collections with other investors in a syndication process.

         3.      Not unlike a startup company seeking venture capital, the Defendants sold these

  various NFTs as a way to fund the growth of the Company (defined below) and allow investors,

  like the Plaintiff, to benefit from the success of the Company. For example, while owning an

  Avatar NFT was a prerequisite for owning a Horse NFT, the Defendants also made it clear that the

  funds from their sale would drive the Company’s development: “The next source of funds is

  coming from the Avatar drops[.] [W]e are not spending that money on ourselves[,] we’re spending

  it on the platform[.] [T]his is the capital that will be used to build out the metaverse in the build-

  out of the next layer of Technology[.] [T]he funds will be used . . . predominantly for the

  development of the project and for operating costs.”

         4.      The Defendants made it clear that the investors would see increased returns and

  profits in a number of ways: their virtual-world racing rewards would increase as the real-world

  purses grew at 4% to 5% each month; as the game became more popular, the price of their NFTs

  would increase; they could earn passive income by “staking” or renting their assets to other

  players; the percentage of the payout would increase from 1% to 100% of the real-world earnings

  as the game became more popular; and several other ways that the investors would profit from the

  work of others. The sale of these crypto assets were investment contracts, and therefore they were

  securities under the requirements of the Securities Act of 1933.

         5.      The Defendants raised millions of dollars from these sales. For example, the first

  collection of NFTs—the Avatar NFTs—sold more than 7,358 units as of June 22, 2024, at a price




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  of 0.2 ETH 1 each. At current exchange rates, this would be more than $4 million. The 8,525

  Season 1 Horse NFTs were sold for up to $750 each, which could have raised up to $6.3 million.

  The Defendants also sold Land NFTs and Season 2 NFTs for substantial amounts of money.

           6.       After the Season 1 Horse NFTs were issued, at first the Defendants paid out the

  winnings as they said that they would, distributing more than half a million dollars to owners of

  thousands of horses.

           7.       Based on the promises and promotions of the Defendants, the Plaintiff and other

  members of the Class invested millions of dollars in these NFTs.

           8.       Like many other crypto projects, the Defendants relied heavily on the community

  of investors. They fostered this comradery in online forums and chatrooms, such as Discord,

  Twitter, and YouTube. They held dozens of Ask Me Anything (“AMA”) sessions, where

  corporate representatives and the Defendants would present the plans for the Company, discuss

  the details of the NFTs, and take questions from the community. Defendants were in near constant

  contact with the Plaintiff and the Class as a whole in order to promote the game and the sale of the

  NFTs. The Defendants also discussed the payouts for each Season 1 Horse NFT throughout the

  racing lifetime of the real-life horse.

           9.       The Defendants secured the endorsement of several influential partners, including

  the New York Racing Association (“NYRA”), the Jockey Club, and Fox Sports. Perhaps most

  importantly, the Defendants announced the early investment and support of Defendant Tropical

  Racing, which is controlled by co-founder Defendant Troy Levy. As the press releases made clear,




  1
     “ETH” is the cryptocurrency Ether, which is traded on the Ethereum blockchain.                      See generally
  https://ethereum.org/en/. Unless otherwise indicated, all monetary values with a “$” represent values in United States
  Dollars (USD).


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  “Having the public thoroughbred racing company as its lead strategic investor brings legitimacy

  to the venture.”

         10.     Unfortunately, everything fell apart shortly after the Season 2 Horse NFTs failed to

  sell as expected. The value of the other NFTs collapsed, the payouts from the Season 1 Horse

  NFTs stopped, and the project stopped development almost immediately. Plaintiff and other

  members of the Class are left with nothing for the millions of dollars that they invested.

         11.     Even though these crypto assets were actually securities, they were never registered

  with the United States Securities and Exchange Commission (“SEC”), as required by the Securities

  Act of 1933. Defendants therefore violated Rule 12(a)(1) when they sold the NFTs.

         12.     Additionally, Defendants omitted key information when they promoted and sold

  these NFTs. Shortly after the market collapse, several leading members of the Game of Silks

  community held a video conference with Defendant Troy Levy (co-founder and president of the

  Company, as well as the owner of Defendant Tropical Racing) and a director of the Company to

  discuss the potential future of the project. During that call, Troy Levy and the director disclosed

  several pieces of material information for the first time.

         13.     First, even though the Defendants promised that they would be fully transparent

  about how the funds raised from the sale of NFTs would be used, the Company never provided

  critical financial information about its business prior to this call. Importantly, it was disclosed on

  the call that the Company needed to receive revenues of more than $20 million per year in order

  to stay in business. It had not come anywhere close. The Defendants had not informed the

  investors that the payment of winnings for Season 1 Horse NFTs would stop if it did not sell

  enough Season 2 NFTs.




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         14.      Second, even though the Defendants proudly announced the investment by the

  racing company controlled by Troy Levy—Tropical Racing—as a key indicator of support for the

  Company, Troy Levy disclosed on the call that Tropical Racing had actually exited its investment

  in Game of Silks months earlier.

         15.      Third, Troy Levy also disclosed that the Board had determined that no amount of

  cash infusion would have enabled the Company to continue at that point.              That reveals a

  fundamental flaw in the business model that was never disclosed to the Plaintiff and the members

  of the Class.

         16.      As a result of these material omissions and half-truths in the sale and promotion of

  the securities, Defendants violated Rule 12(a)(2).

         17.      The individual Defendants are liable to Plaintiff and the Class both in their

  individual capacity and as control persons.

  II.    JURISDICTION AND VENUE

         18.      This Court has jurisdiction over the subject matter of this action pursuant to 15

  U.S.C. § 77v, which vests jurisdiction for claims under the Securities Act in U.S. District Courts.

         19.      Venue is proper in this District pursuant to 15 U.S.C. § 77v because Defendants are

  located in, reside in, or are inhabitants of this District, the Defendants transact business in this

  District, and/or many of the acts charged herein occurred in substantial part in this District.

         20.      In connection with the acts, transactions, and conduct alleged herein, Defendants:

                  a)     Made use of the means or instruments of transportation or communication

         in interstate commerce or of the mails to sell the unregistered securities at issue in this

         litigation through the use or medium of any prospectus or otherwise.




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                 b)      Carried or caused to be carried through the mails or in interstate commerce,

         by any means or instruments of transportation, the unregistered securities at issue in this

         litigation for the purpose of sale or for delivery after sale.

                 c)      Made use of the means or instruments of transportation or communication

         in interstate commerce or of the mails to offer to sell or offer to buy through the use or

         medium of any prospectus or otherwise the unregistered securities at issue in this litigation.

  III.   PARTIES

         A.      Plaintiff

         21.     Plaintiff Cary Cantner (“Cantner”), as set forth in the accompanying certification,

  incorporated by reference herein, purchased the Game of Silks NFTs and was damaged thereby.

         B.      Defendants

         22.     Defendant Game of Silks, Inc. (“Game of Silks” or the “Company”) is a corporation

  organized and existing under the laws of Delaware. Game of Silks’ principal place of business is

  in Boca Raton, Florida. The sale and marketing of the NFTs took place throughout the United

  States, utilizing multiple platforms accessible nationwide, thereby supporting jurisdiction and

  venue in this court.

         23.     Defendant Dan Nissanoff (“Nissanoff”) was the CEO and Founder of Game of

  Silks. He is a resident of Boca Raton, Florida.

         24.     Defendant Troy Levy (“Levy”) was the Vice President and Founder of Game of

  Silks. He is a resident of Boca Raton, Florida.

         25.     Defendant Tropical Racing, Inc. (“Tropical Racing”) is a Florida corporation with

  a principal place of business in Versailles, Kentucky. According to the Tropical Racing ’s offering

  circular dated May 4, 2021, Tropical Racing “operates its thoroughbred horse racing business out

  of the State of Florida.”


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         26.     Defendant Ron Luniewski (“Luniewski”) was the Chief Operating Officer of Game

  of Silks. He is a resident of Los Angeles, California.

         27.     Defendant Derek Cribbs (“Cribbs”) was the Chief Financial Officer of Game of

  Silks. He is a resident of New York, New York.

         28.     Defendants listed in paragraphs 22 through 27 are referred to herein collectively

  as the “Defendants.”

         29.     Defendants Dan Nissanoff, Troy Levy, Ron Luniewski, and Derek Cribbs are

  referred to herein as the “Control Person Defendants” or “Individual Defendants.”

  IV.    FACTUAL ALLEGATIONS

         A.      Background on Blockchains and NFTs

         30.     A blockchain is a decentralized digital ledger generally associated with the transfer

  and recording of digital currencies (cryptocurrencies) and digital assets. It operates across a

  distributed network, maintaining a shared, permanent record of all transactions.

         31.     Traditional ledgers, like those managed by banks, are centrally controlled and

  validated by a single trusted authority. In contrast, blockchains operate through a decentralized

  network, where no single entity controls the ledger. This structure allows for more transparent

  ownership tracking and less reliance on central authority.

         32.     Non-Fungible Tokens (NFTs) are a type of blockchain technology that represents

  unique digital data or assets. NFTs differ from other digital assets, like cryptocurrencies, in that

  they are not interchangeable with one another due to their distinct, individual characteristics. NFTs

  use blockchain as a way to assign and verify ownership of a unique piece of data.

         33.     One of the primary uses for NFTs is for the sale of digital art, collectibles, or access

  to private clubs. In these cases, NFTs are marketed to consumers as unique representations of

  ownership over digital creations. The value of these NFTs is generally driven by their rarity,


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  branding, and the exclusive experiences or communities they unlock for their holders. Famous

  examples of these types of NFTs include the Bored Ape Yacht Club collection.

         34.     Another significant use for NFTs involves raising funds for the development of

  future projects, such as movies, video games, or tech startups. These NFTs are often marketed as

  investment-like instruments, offering buyers potential future returns in the form of profit-sharing,

  dividends, or exclusive access to the eventual products or services developed by the funded project.

  For example, buyers of these NFTs may receive promises of a share in future revenue generated

  by the project, or they may be granted early access to products as they are developed. The critical

  feature of this segment is that the value of the NFTs is directly tied to the future success of the

  underlying venture, making these NFTs more akin to speculative investments than collectibles.

  From a historical perspective, issuing a specific NFT in a collection is similar to issuing a unique

  certificate for each share of common stock that a company issues.

         35.     In this capital formation context, the NFT functions similarly to traditional

  fundraising models, where participants contribute capital in exchange for a potential future stake

  in the project’s success. The value of these NFTs is contingent on various factors, such as the

  project’s team, market fit, execution, and consumer demand. Investors assess the likelihood of the

  project reaching its goals in the same way venture capitalists evaluate startups. This type of NFT

  offering closely mirrors traditional securities, where the financial return is directly linked to the

  project’s success, making the buyer’s expectations analogous to those of equity investors.

         36.     Some NFTs are digital tokens tied directly to real-world assets, events, or data, and

  their value is driven by real-world outcomes. These derivative NFTs could represent real estate,

  commodities, or professional athletes, and the value of the NFT fluctuates based on the

  performance or status of the underlying asset in the real world.




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          37.     In sum, the diversity within the NFT market includes both speculative capital

  formation NFTs, which closely resemble traditional securities, and derivative NFTs, which are

  related to real-world asset performance.

          38.     When an investor wants to purchase an NFT, they will create the NFT through the

  “minting” process, which is controlled by the issuer of the NFT collection.

          39.     NFT issuers also sometimes reward the holders of their NFTs with “airdrops,”

  where the holders on a certain date will receive something valuable, which might be an additional

  similar NFT, an NFT from another collection, or some other crypto asset such as a token. These

  airdrops can be similar to receiving a dividend or a coupon payment on a security or note.

          B.      Game of Silks and Its Digital Assets

          40.     The Game of Silks game was designed to replicate the real-world horse racing

  industry in a virtual setting, allowing users to assume roles similar to those in the actual sport.

  Through the use of various NFTs, players could immerse themselves in the roles of horse owners,

  stable managers, landowners, and syndicate members. Purchasers of the NFTs would win money

  when their corresponding real-life horses won races.

          41.     The first NFT that the Defendants offered was the Silks Avatar NFTs, which looked

  like digital racing jockeys. Some Silks Avatar NFTs look like this: 2




  2
   See https://opensea.io/assets/ethereum/0xa03e357a09e761e8d486a1419c74bf42e8d1b064/1397;
  https://opensea.io/assets/ethereum/0xa03e357a09e761e8d486a1419c74bf42e8d1b064/4838. The NFTs are often
  available for sale on the NFT trading platform OpenSea.com.


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             42.       Each Silks Avatar NFT has a unique combination of characteristics or traits, such

  as the color of the background, the style of the helmet or jacket, the eyewear, or the pattern on the

  uniform. The Silks Avatars NFTs were also differentiated by tiers, with the first 5,000 avatars

  receiving special benefits such as airdrops of other NFTs.

             43.       The Silks Avatar NFTs represented the user’s identity in the metaverse, and they

  were initially required for participation in many of the game’s key functions. The colors and

  designs on the Silks Avatars NFTs were used as an identity on other assets that a user owned. For

  example, the pattern on the Avatar’s jersey might appear on the horses and stables of each user.

             44.       On or about April 27, 2022, Defendants commenced the sale of the Silks Avatars

  NFTs, with 7,358 avatars minted as of June 22, 2024, at a price of 0.2 ETH per avatar

  (approximately $736 at current exchange rates).

             45.       The Season 1 collection of Silks Horse NFTs represented horses that were born on

  or after 2021. Some examples of the Silks Horse NFTs include: 3




  3
      See https://opensea.io/collection/silks-s1-racehorses.


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         46.     Similar to the Silks Avatar NFTs, the Silks Horse NFTs included different traits

  that could be organized, such as their sex, their father (the broodmare sire), their mother (the

  broodmare), or their color.

         47.     Game of Silks launched the sale of its Season 1 Horses on October 26, 2022, with

  8,525 horses minted at an initial price of $500, which was later raised to $750. Each Silks Horse

  NFT was a derivative asset tied to a real-world thoroughbred racehorse, and owners were promised

  increasing rewards based on the horse’s performance over time.

         48.     For example, in an April 18, 2022 AMA, the Company’s representatives explained

  how the upcoming payouts would be based on real-world racing, where the in-game payout would

  be approximately 1% of the real-world purse. They then explained that the Defendants expected

  the value of the in-game payouts to increase to the point that they equaled the real-world payouts

  as the game became more popular and more people purchased the crypto assets:

         Now ultimately we believe that eventually we can catch up to the real world to wear
         our tokens on become equal in value to the real world price vs right so we believe
         that there will come a point where we’re taking in the same amount of money that
         the real world is giving out and prize purses each year[.] [S]o if the real world is
         giving out a billion dollars a year [in prize] purses if we can take in a billion dollars


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             a year in inflows from the sale of our assets then the prize purses that we can
             distribute become equal to the real world [prize purses.]

             49.       On March 8, 2024, Game of Silks launched the sale of its Season 2 Silks Horse

  NFTs at an initial price of $1,250, which was later reduced to $875. Like the Season 1 Horses,

  these NFTs were tied to real-world thoroughbreds, and purchasers were promised similar rewards,

  including increasing payouts based on race performance and lifetime earnings from horse winnings

  and breeding. The Season 2 horses similarly had different traits that were based on real-world

  characteristics, and looked like this: 4




             50.       Land ownership was another key element of the game, with Silks Land NFTs

  representing virtual plots where horses could be stabled. Each investor’s horses had to be stabled

  somewhere, and owning land and building a stable would allow players to avoid renting space in

  someone else’s stable. Players who owned ten contiguous plots could establish public stables,

  where other players could stable their horses for a fee.




  4
      See https://opensea.io/collection/silks-racehorses.


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             51.       The Silks Land NFTs also had traits such as their region in the metaverse and

  whether or not they were privately held, and they each had a location based on a coordinate in a

  grid in the metaverse. They looked like this: 5




             C.        The NFTs Were Sold As Investments That Fueled the Growth of the
                       Company

             52.       The Defendants developed a community of investors who were interested in

  owning virtual racing horses in order to promote the sale of the Game of Silks NFTs, bring in funds

  to develop the Company, and develop a secondary market for the NFTs.

             53.       The Defendants developed this community and increased engagement through

  online forums such as Discord, posts on Twitter / X, AMA sessions, and videos posted on

  YouTube.

             54.       Notably, the Company designed the NFTs such that the Company would receive a

  “royalty” payment from every sale or purchase of the NFTs in the secondary market, ranging from

  5% to 8% of the transaction price. As a result, the Company was supposed to be a party to each



  5
      See https://opensea.io/collection/silks-land.


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  subsequent sale of the NFTs, and the Company would benefit from speculation and reselling of

  the NFTs. As the community around Game of Silks grew, so did the project’s economy.

          55.     The Defendants informed investors that the proceeds from these NFT sales would

  be used to develop the full Game of Silks metaverse, including features such as virtual stables,

  public barns, and in-game marketplaces. The pooling of investor assets was critical to developing

  the metaverse and the broader infrastructure, which was necessary for the platform to function and

  succeed. This created a shared outcome between the investors and the investment pool, as the

  success of these initiatives would directly impact the value of the NFTs owned by investors.

          56.     Defendants made this explicitly clear in materials including an AMA on April 24,

  2022 on Twitter:

          [T]he next source of funds is coming from the Avatar drops[.] [W]e are not
          spending that money on ourselves[,] we’re spending it on the platform[.] [T]his is
          the capital that will be used to build out the metaverse in the build-out of the next
          layer of Technology[.] [T]he funds will be used for the predominantly for the
          development of the project and for operating costs[.] [W]e will need an off-ramp
          from ETH to Fiat to operate in the early days because the marketplace isn’t quite
          there yet[.] [W]e have real expenses[,] people need to get paid salaries[,] vendors
          need to get paid in dollars than not all taking [Ethereum] so we are going to have
          to offer a capital at various stages and convert it into Fiat to be able to pay our
          vendors[.] [T]hat’s very important for you to understand because you will
          eventually have complete transparency into our wallets because it is a [—] it will
          be a [DAO] 6 wallet that’s collectively-owned by the community[.] [T]hat’s what’s
          important for you to understand[,] that we are going to use this Capital to develop
          the next stage of the business[.]

          57.     Similarly, the Defendants stressed in this AMA session that investors in the Game

  of Silks NFTs were stakeholders in the project: “[W]hen you buy an Avatar you’re buying into a

  platform[,] you’re becoming a founding member of this platform and a stakeholder in the project

  and can benefit in many ways from that.” They continued to predict that the first round of


  6
   A Decentralized Autonomous Organization (“DAO”) is an organizational structure with no central governance
  body that is a popular way for web3 communities to manage and direct a blockchain project. See generally
  https://www.investopedia.com/tech/what-dao/.


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  Avatars—known as “Genesis” Avatars—would become more valuable in the future as they

  showed that the owner was “an OG, you’re an original gangster, and you are a stakeholder from

  the beginning,” and that they “will receive significant unique benefits that will be available to

  nobody else.” The Defendants eventually offered these first few thousand Silks Avatar NFT

  holders financial benefits, such as discounts on purchasing Horse NFTs.

          58.     The Defendants continued in the same discussion to explain that all of the crypto

  assets that they would issue would be visible on the blockchain because of the DAO 7 structure:

  “[A]ll future inflows and outflows will take place for the DAO and you will all have complete

  visibility into the balance of the DAO has[.] [T]hat is essentially going to dictate the value of our

  assets[,] both our horses[,] our land[,] our Farms or structures[,] and most importantly our tokens.”

  At the time, the Defendants claimed the they would issue tokens referred to as $STT tokens to

  serve as a currency in the ecosystem.

          59.     Defendants could not have been clearer on the April 24, 2022 AMA that the

  investors in the community were funding the growth and development on the economy, which they

  expected to grow with more participants:

          I want everyone to understand that this is going to be [a DAO.] [T]he proceeds
          from everything that comes into the [DAO will] go to the development of the
          platform into the operations of the platform which means that the costs associated
          with any drop that we do is [—] you’re not paying for something[,] you’re
          investing in the platform because every dollar that goes into the purchase of [this]
          asset goes into the community wallet that act [as] the Federal Reserve that bolster
          the economy and [backs our] tokens and our assets[.] [V]ery important that you
          understand this economy and how it operates because it is your economy and it is
          your money and it is collectively your wallet as much as it’s [ours.] [E]verything
          will go into the treasury wallet beginning with the horse drop and every drop going
          [forward] after that as I indicated earlier the initial proceeds will go into a corporate
          wallet that will be used to fund the operations of the business until the wallet is
          created which will come as soon as the [entity is] created[.] [T]he future prices of

  7
   A DAO refers to a decentralized autonomous organization, which is a community-owned organization commonly
  used in the web3 world. DAO’s frequently decide how to operate based on voting mechanisms or other methods of
  governance.


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         our [mints] will dictate how fast we reach parity with the in real-world prize purses
         and so ultimately the higher our assets are worth the faster that will happen[.]

         60.     In the April 24, 2022 AMA, the Defendants and their representatives described how

  they would work to increase the demand for the Game of Silks crypto assets:

         [W]e will continue to invest in promoting awareness to ensure that there is
         substantial demand for our assets and to ensure that people that want to get in can
         get in[.] [T]hey will spend more money to get in then if they came in early but we
         want to ensure that we continue to build the community and to flush out anybody
         that was really in here just to some kind of ride the value of the Avatar and flip[.]
         [S]o we’re going to replace those people with people that really want to be involved
         in the metaverse and in the game and that’s only going to come from bringing a
         new people into [] the community[.] [S]o we are going to invest heavily in
         continuing to drive awareness [and to] continue to bring people in the community[.]

         D.      The Defendants Told Investors that they Would Profit From the NFTs

         61.     The Defendants told the community that their investment in the NFTs would grow

  in value as the project grew. For example, as explained in the whitepaper issued in Q1 2022,

  “Land speculators may purchase and hold land anticipating that the value will increase with both

  the growth of the economy and new land uses that may be introduced in the future.” Q1 2022

  Whitepaper, p. 14. In other words, the return of their investment would increase as the game

  economy grew. Similarly, the whitepaper explained that landowners would profit from the success

  of others: “Horse farm developers will be incentivized to acquire land and develop farms so that

  they can share in the winnings of horses staked in their farm. A ten-acre farm will earn a minimum

  of 10% of all racing purses won from each staked horse.” Id. Troy Levy repeated this sentiment

  in an AMA on April 26, 2022, when he said that “the Game of Silks and what we’re doing is that

  [we are,] you know[,] having you put your horses in a stable and now you’re reaping the rewards

  or the profitability or the revenue streams of all the horses inside [that stable,] so now it’s giving

  you that feeling of owning a tremendous amount of horses.”




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         62.     The game also encouraged collaboration through syndicates, where players could

  pool their resources to buy shares in multiple horses. Syndicates allowed participants to diversify

  their investments, reducing the risk associated with owning a single horse. By joining forces with

  other players, participants could share in the winnings of all the horses within the syndicate.

         63.     This feature replicated real-world racing partnerships, where multiple owners share

  the costs and rewards of horse ownership. Some syndicates were more formal, issuing digital asset

  “governance tokens” to manage horses, while others operated more informally, allowing members

  to trade fractional ownership among themselves.

         64.     Not only would investors earn money on their Silks Horse NFTs when their real-

  life horse doppelgangers won prize money, the amount that they earned was supposed to increase

  from 1% to something much more as the project and the economy grew over several years. In the

  April 18, 2022 AMA, defendants detailed the time frame when they expected the payments to

  approach real-world earning levels:

         [W]e currently are projecting that to take between six and seven years and that that
         are the velocity of that slope and how fast we get there can either be slower or
         shallower or steeper and that’s going to largely depend on the community[.] [T]his
         community is coming in to this project at a relatively[—]with a relatively small
         investment amount and we expect that the value of these assets over time as more
         and more people want to be a part of this project are going to grow and the early
         adopters in the space will be the likely beneficiaries of the appreciation of these
         assets.

         65.     The Defendants and their representatives made it clear that they, including

  Defendant Levy personally and his company Tropical Racing, would be working to develop this

  economy and increase the value of the investments:

         And we know we’re having a newsletter going to be doing a bunch of things that
         will get a tremendous amount of awareness pointing to us that will add a lot of value
         and create a lot of demand for what we’re doing. [S]imilarly [T]ropical [R]acing
         he’s going to intend [—] it intends to develop a syndication farm and they’re going
         to develop a use case and share how it’s done in an in an AMA in the future[.] [B]ut
         basically they love the idea of buying land and building out stables and pre-reveal


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         with the horses [will] be able to [syndicate] and allow people access that may not
         be able to afford an entire horse early on and so they’re going to use the platform
         to build a case study we’ll talk a lot more about it[.] I’m super excited and Troy is
         going to lead an [AMA] on that in the near future[.] [W]e think there’s a huge
         opportunity for people that want to get involved [on] a larger scale developing
         Farms that indicate their horses and we kind of want to develop the use case for that
         and actually demonstrated in [T]ropical [has] volunteer to do that in the end shown
         interest[.]

  April 24, 2022 Twitter AMA

         66.     A few days later, on April 26, 2022, Troy Levy held that AMA, and reiterated that

  he and Tropical Racing would be active in the game in order for people to understand the process:

         [W]hat I’m planning on doing with tropical is basically I thought one of the best
         ways to participate and give tutorials and let’s say lessons in regards to the industry
         is to truly participate in the Game of Silks in the economy so my plan is to go out
         in the open and buy horses and by land and by a stable and Syndicate the horses
         and truly put a manager you know what like a Syndicate manager like we have in
         the real world in the metaverse and really kind of give a life lesson in regards to
         how to how to how to make this work

  April 26, 2022 AMA

         67.     Troy Levy and Ron Luniewski also made statements in early 2023 in the AMAs

  and elsewhere that the fractionalized ownership would provide for a more diverse and appealing

  investment opportunity: “Game of Silks will enable syndication for fractionalized ownership,

  allowing players to diversify their holdings and minimize risk.” Defendants promoted these

  features even though the syndication model was never implemented, and unlikely to ever be

  implemented. They promoted it regardless, seeking to maximize NFT sales by making the

  platform appear more dynamic and risk-managed than it was.

         68.     Furthermore, during an April 18, 2022 AMA, Dan Nissanoff and Troy Levy had a

  conversation about the upcoming syndication feature, and the Company representative explained

  that the syndication model would allow one party to be a “general partner” in the syndicate and

  the other investors could be passive partners who profited from the general partners’ decisions:



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          [T]he person with a governance token is the person that is making the decisions
          around the horse just like the general partner in a syndication when you become a
          participant in a syndicated force in the real world there is one General partner that’s
          responsible for managing the horse and making all the decisions they decide which
          race has to enter they decide which trainer to use, [which jockey] to use[,] whatever
          [] decisions need to be made.

          69.     The AMAs and the whitepaper also included statements from Dan Nissanoff and

  Troy Levy that promoted the ability to receive passive income from stables and horses through a

  “staking” program, where other users paid to use the assets: “Players will earn income from

  stabling horses in their stables and through staking horses on their land, creating an ongoing

  revenue stream for land and horse owners.” The Defendants promoted stabling and staking

  functionalities, knowing that they were not operational or fully developed. By promoting these

  features without a realistic expectation of delivery, the Defendants misled investors into

  purchasing NFTs under false pretenses, intending to increase sales despite the platform’s inability

  to deliver these utilities.

          70.     While the Company executives did warn that the investments involved risks, in the

  April 24, 2022 AMA they literally said that the warnings were boilerplate warnings and they were

  the same as any other NFT project:

          [S]o there is risk[, and] we believe that will be able to deliver everything we
          promise[,] but again it’s important for you to understand that nothing is
          guaranteed[.] [E]verything I’m telling you is standard and applies to everyone[.]
          [T]he most successful projects in the [NFT] world [—] go on to OpenSea and look
          at whether its Moon Birds or Crypto Punks or Clonex or Azuki or any other of these
          massive blue-chip projects [—] they would all disclose that they have the same risk
          so what I’m sharing with you is really boilerplate and it’s applicable to everything
          in this industry[.]

          71.     The Defendants also promised that the game would have longevity. Even though

  real-life race horses might only race for a few years, the Defendants promised that they would

  provide opportunities to remain engaged and still profit from the horses. During the April 26, 2022

  AMA, the Defendants’ representative explained that if a race horse died or retired, “we have a lot


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  of things in store for that[.] [W]e have so many different ideas but also things that are in

  development in regards to the airdrops in regards to functionality and gameplay that will provide

  people with a lot of value to this project[.]”

         72.     When asked on the April 24, 2022 AMA on Twitter what would happen if the

  collection of NFTs did not sell out completely, the Defendants’ representative stressed the number

  of people who were signed up on the “whitelist” to receive early access exceeded the number of

  available NFTs. He then continued to say that

         we will make sure that that if you are out there and we have [the NFTs] available
         we’ll keep it out there will continue to promote platform[,] [A]gain this is a long-
         term play and I expect that very quickly people are going to find us and want to be
         a part of this[.] [S]o our intention is strictly to support the community to support
         the value of these avatars and to ensure we’re doing it in a way that that protects
         the value of the Avatars for the company[,] for the platform[,] [and] for the
         community[.] [S]o you can be rest assured we have completely aligned interest to
         all of our constituents and members of this community[.]

         73.     In an April 26, 2022 AMA, Troy Levy also spoke to investors about the importance

  of investing in Horse NFTs early because they would earn greater passive income when the real-

  life mares started breeding successful horses in later years:

         [O]ne of the main points I wanted to bring up was how important it is to get
         everyone situated today early on because . . . over x amount of years the parallel in
         the mirroring of the token economics in the economics of the horse-racing industry
         it’s going to sooner or later be in parallel[.] [A]nd what that means and simple is
         that we believe you do 5-6 years down the road that if the real life horse makes
         50,000 that the investors and the horses under on the game itself was going to
         make$50[,000.] [A]nd it’s going to take a few years to get there but the most
         important part is owning the resources today[,] especially let’s just say some of the
         female horses that [—] and of course than the male horses to become stallions [—
         ] but what percentage of the female horses is the situate yourself in having a few
         because when they start having babies which will be 3, 4, 5, 6 years[,] you know[,]
         down the road where is the where every single year that mare is having a baby that’s
         going to be the time when this game is full and its neighboring and paralleling the
         real life world[.] [A]nd that’s you know my mind is that passive income . . . [M]y
         mares having a baby every single year or by 2 or 3 and now they’re selling for x
         amount of dollars and I’m receiving x amount of dollars every single year when
         that baby sold in the Game of Silks[.] [S]o I really think it’s that[,] and I’ve always
         lived this[,] that the first one’s [in are] the last ones to leave[.]


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            74.       In a January 24, 2024 Twitter Space, 8 Troy Levy continued this theme, noting the

  increase in real-world purses. He stressed that two-year old horses had only earned 11% of their

  lifetime earnings, but that horses in their third year would make 30% of their lifetime earnings. As

  a result, Troy encouraged investors to anticipate greater payouts from the NFTs in the near future.

  He also stressed that, in the real world, the purses historically increased 4-5% each month; the

  Kentucky Derby payout in particular recently increased from $3 million to $5 million. As a result,

  the reward money paid out in the Game of Silks should also expect to increase at the same rate

  every single year because they track real-world payouts.

            75.       As the Season 1 Horse NFTs raced and the Defendants prepared to offer the Season

  2 Horse NFTs, the Defendants stressed the successful payouts to the participants so far. In the

  same January 24, 2024 Twitter Space, the Defendants detailed the statistics of the payouts to date,

  bragging that they had already distributed more than half a million dollars to the owners of more

  than 3,000 Horse NFTs. One NFT had even received a payout of more than $10,000. Defendants

  made it clear that they expected the winnings to continue.

            76.       In a recap of the Season 2 Horse NFT AMA published on February 2, 2024, the

  Company discussed a new way for the NFT holders to earn profits from the work of others: the

  Breeders Fee. (Defendants Levy and Luniewski both presented at this Twitter Space AMA, which

  is available at https://t.co/vGTxpR6kKd.) As detailed in the summary, “breeding” horses would

  allow NFT holders to receive a portion of future purchases and sales by third parties of their

  “offspring”:

                  •   Starting with the first Silks horse in the breeding shed, breeders will receive
                      1.5% of the purchase price of offspring from Sires and 3.5% from
                      Broodmares owned by Silks players.



  8
      See https://twitter.com/i/spaces/1zqKVqkvAEZxB.


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                  •   Fees will be paid 30 days from the purchase of offspring. Payments will be
                      made to the wallet holder of the Sire and Broodmare on the day the fee is
                      paid.

            77.       In the Twitter Space itself, Defendant Levy stressed that Defendant Luniewski was

  critical for the success of the Company. In turn, around minute 8, Luniewski said that Levy “put

  his money where his mouth was.”

            78.       In a May 10, 2024, AMA, 9 Defendants Levy, Luniewski, and others discussed new

  changes to the platform that were designed to “increase engagement” and drive traffic to the site.

  For example, they discussed a new feature that they were calling the “Weekly Snipe,” where horses

  that were running races over the weekend would be listed and available for sale through minting

  on Thursday afternoon. This would be “huge for immediate interaction and [] immediate payouts.”

  They also discussed an affiliate program, which would reward community members financially as

  they spread the word and increased engagement. As Defendant Luniewski said around minute 21,

  they saw “a lot of upside with the affiliate program.”

            79.       Defendant Luniewski also stressed that they were following the roadmap, including

  a lot of improvements. He told the community that they “couldn’t be more happy” with the Twitter

  engagement and other social media, which were key indicators for growth, and that there would

  be “a lot of upside.”

            80.       Around 30 minutes into the AMA, Defendant Luniewski fielded an unrecorded

  question about what would happen if the Game of Silks ran out of money. He told the audience

  that they “do have a plan in place to escrow that money, . . . but you know we’re in startup mode

  and we’re certainly fiscally responsible people. . . . You know make a commitment, a horse could

  live for 20 years, but you know that’s the plan for the game.” In his closing remarks, he stressed



  9
      See https://www.youtube.com/watch?v=F-zUybE8ano.


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  that “where we’re at now, everything’s organic, we’re going to continue to grow it and learn from

  it.”

          E.       Game of Silks Partnerships and Collaborations

          81.      The Defendants also promoted the authenticity and legitimacy of the project by

  developing real world partnerships with leaders from the horse racing industry.

          82.      One of the earliest and most significant partnerships was with Tropical Racing Inc.,

  which invested $2 million in the Company in April 2022. Tropical Racing, led by CEO Troy Levy,

  who was also a co-founder of Game of Silks, is a prominent thoroughbred horse breeding and

  racing company with a 200-acre farm focused on breeding, racing, and syndicating thoroughbreds.

          83.      Tropical Racing’s involvement brought significant industry expertise and financial

  support to the project. This partnership was intended to introduce users to real-world horse

  ownership and allow them to engage in the digital ownership of thoroughbred horses.

          84.      This partnership was designed to integrate Tropical Racing’s deep industry

  expertise with Game of Silks’ blockchain-based metaverse platform, aiming to bridge the gap

  between the real-world horse racing industry and a virtual play-to-earn (P2E) gaming economy.

  Tropical Racing provided not only strategic guidance but also financial support, positioning the

  Game of Silks platform to introduce thoroughbred horse ownership to a new generation of sporting

  enthusiasts through the use of Web3 technology. As the press release announcing the funding

  noted, “Having the public thoroughbred racing company as its lead strategic investor brings

  legitimacy to the venture.” 10




  10
    See https://www.newsbtc.com/news/company/silks-secures-2-million-funding-to-develop-the-first-ever-
  thoroughbred-horse-racing-metaverse/; https://cointelegraph.com/press-releases/silks-secures-2m-for-thoroughbred-
  horse-racing-industry-in-the-metaverse.


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         85.     Tropical Racing continued to promote Game of Silks through its mailing lists for

  years and into 2024, sometimes blurring the lines between the companies. For example, on

  December 7, 2022, Tropical Racing distributed a press release announcing the investment by

  NYRA Bets Holding, LLC in Game of Silks, and provided a link to Tropical Racing’s website for

  more information. The press release also made it clear that the digital assets in the Game of Silks

  would represent horses throughout their “productive racing and breeding careers spanning their 20

  year lives,” and that purchasing the racing-related digital assets would “support the Silks

  ecosystem.”

         86.     An April 22, 2022 email from Tropical Racing promoted the then-upcoming sale

  of Avatar NFTs, positioning Tropical Racing as a partner in the process: “Tropical Racing and

  Game of Silks are extremely excited to join the ranks of companies Poker Stars and Fan Duel that

  have changed the game.”

         87.     When Tropical Racing rebranded its website and logo in early 2024, it included

  Game of Silks as one of its brands.

         88.     On September 15, 2023, a Tropical Racing newsletter promoted Troy Levy’s role

  both as CEO of Tropical Racing and as co-founder of Game of Silks, and described Game of Silks

  players cashing in on their investment when a real-life horse wins a race: “Keeneland, Aqueduct,

  and Santa Anita [racetracks] will all be hosting big event days with plenty of two-year-old stakes

  for those horses preparing for the big Championship and plenty of opportunity for Silks players

  to cash in on their investment.”

         89.     Troy Levy also specifically explained in a January 24, 2024 Twitter Space that the

  Game of Silks project was gaining legitimacy in the real-world of horse racing, as they were

  increasingly become a part of the horse racing world as a real company and player, not just “an




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  outsider looking in.” He later explained that “We are a true company, that has the ability to

  overcome any adversity, and the ability to move forward, be stronger, and be better.”

          90.     Dan Nissanoff claimed that “our values as a company starts with trust and it starts

  with transparency,” and that they had “shared what we we’re doing for our insiders” at an AMA

  on April 24, 2022 on Twitter.

          91.     The New York Racing Association (“NYRA”) also partnered with Game of Silks

  in December 2022, marking another crucial relationship.                NYRA, which operates famous

  racetracks such as Belmont Park, Saratoga Race Course, and Aqueduct Racetrack, provided Game

  of Silks with a prestigious connection to real-world racing venues. Under this partnership, Game

  of Silks was designated NYRA’s Official Blockchain Game and Metaverse Partner, which allowed

  the virtual representation of these racetracks in the game.

          92.     The partnership also included NYRA promoting Game of Silks on its national

  television broadcasts, including America’s Day at the Races and Saratoga Live, which air on FOX

  Sports. This collaboration was intended to drive new fan engagement in horse racing through

  Game of Silks’ blockchain platform, making horse ownership more accessible and integrating the

  experience of owning and racing thoroughbreds in both the physical and digital worlds. 11

          93.     In December 2022, Game of Silks expanded its relationship with NYRA through a

  strategic partnership with NYRA Bets, the official online wagering platform of the NYRA. As

  part of this partnership, NYRA Bets acquired a minority equity position in Game of Silks, further

  solidifying the Company’s commitment to integrating blockchain technology with real-world

  thoroughbred racing.



  11
     See https://www.nyra.com/aqueduct/news/nyra-bets-holding,-llc-and-game-of-silks-announce-landmark-
  partnership; https://www.thoroughbreddailynews.com/nyra-bets-holding-announces-partnership-with-game-of-
  silks/.


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         94.     The objective of this partnership was to leverage NYRA Bets’ existing customer

  base and digital infrastructure to bring horse racing enthusiasts into the Game of Silks metaverse,

  offering them a unique opportunity to participate in virtual racing, betting, and digital asset

  ownership. The collaboration with NYRA Bets was seen as a key move to modernize fan

  engagement by introducing them to Web3 gaming within a sport steeped in tradition.

         95.     In addition to their strategic partnerships, NYRA and Tropical Racing supported

  Game of Silks by licensing the use of their names to virtual properties within the Game of Silks

  metaverse.

         96.     Tropical Racing was given a 100-acre virtual farm within the Game of Silks

  metaverse. This allocation was intended to replicate the real-world activities of Tropical Racing

  and establish a significant presence within the virtual space. The presence of Tropical Racing’s

  land in the metaverse was designed to draw attention and increase the value of surrounding land

  plots, as players viewed proximity to such a major racing entity as advantageous

         97.     Similarly, the NYRA also had a 100-acre farm allocated to it within the Game of

  Silks metaverse. NYRA’s virtual land was situated strategically in the metaverse, making the

  surrounding plots more desirable for players who anticipated increased virtual foot traffic and

  potential collaboration with such a high-profile partner.

         98.     Game of Silks also formed a strategic partnership with The Jockey Club in October

  2023. The Jockey Club is a foundational organization in the horse racing world, responsible for

  maintaining the registry of thoroughbred horses in the U.S. Through this partnership, Game of

  Silks gained access to crucial real-world racing data, allowing the platform to mirror the actual

  performance of thoroughbred horses in its virtual environment.




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             99.     This integration of real-world data was essential for the success of the game’s

  derivative NFTs, which tracked the performance of real-world horses, enabling players to earn

  rewards based on their race results. This data-driven connection was a key selling point for the

  platform, creating a more immersive and realistic experience for users. 12

             100.    In October 2023, Game of Silks announced a partnership with FOX Sports’

  America’s Best Racing, a media initiative dedicated to increasing the visibility and popularity of

  thoroughbred horse racing. America’s Best Racing, which produces content and broadcast

  coverage of major racing events, partnered with Game of Silks to promote the platform’s approach

  to virtual horse racing.

             101.    This partnership involved using FOX Sports’ wide-reaching media platform to

  bring the Game of Silks experience to a broader audience, particularly by showcasing the

  metaverse’s connection to real-world racing events. The collaboration aimed to introduce a

  younger, tech-savvy audience to the sport by combining the excitement of traditional horse racing

  with the interactive elements of a blockchain-based metaverse.

             102.    As part of the broader partnership with NYRA, Game of Silks incorporated the

  digital versions of three of the most iconic racetracks in the United States—Saratoga Race Course,

  Belmont Park, and Aqueduct Racetrack—into its metaverse.

             F.      The Market Froze In July 2024 and the True Economic Situation Was
                     Revealed

             103.    While there was high demand for the Season 1 Silks Horses NFTs and they sold

  quickly, the situation had changed by the time the Season 2 Silks Horses NFTs were released.

             104.    From the outset, Game of Silks was marketed as a DAO, with players promised

  voting rights and governance over key decisions. However, the project soon shifted away from


  12
       See https://www.businesswire.com/news/home/20231011150909/en/.


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  this decentralized model. The leadership team centralized decision-making and kept critical

  financial information hidden from the community.

         105.    Questions about the budget or the project’s financial health were often met with

  hostility or evasion. Users who pressed for transparency were banned from the community, further

  damaging trust between the leadership and the players. This lack of accountability was one of the

  early signs that the project was not operating as intended.

         106.    Financial mismanagement became more apparent as the project progressed.

  Despite raising an estimated $15 million through a combination of fundraising, NFT sales, and

  other investments, the leadership team struggled to maintain the financial sustainability of the

  platform.

         107.    By early July 2024, the Defendants failed to sell the Season 2 Silks Horses NFTs.

  When the second season launched, the price for new horses was set at nearly three times the

  original cost. The rewards structure, however, remained the same or in some cases, was even

  reduced. This significant price increase, coupled with diminishing rewards, discouraged new

  players from buying into the game, causing a drastic drop in revenue. As participation dwindled,

  the financial strain on the project grew, revealing the flawed economic model that was dependent

  on continued high sales to sustain operations.

         108.    The lack of interest in Season 2 Silks Horses NFTs caused their price on the

  secondary market to plummet. Defendants stopped making payments on the winnings of the

  Season 1 Silks Horses NFTs by July 2024 even though the horses continued to run races and win

  purses in the real world.

         109.    Many Land NFT features and benefits never materialized, leaving landowners with

  assets that had little to no utility. The leadership team repeatedly promised the development of a




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  marketplace and other land-based utilities, but these promises were delayed or quietly abandoned.

  As a result, players who had invested heavily in land near key landmarks like the Tropical Racing

  Farm or the NYRA Farm saw their investments lose significant value.

         110.    Throughout the project, the leadership team continued to earn substantial amounts

  while failing to deliver on the key economic promises of the game. This raised concerns among

  users and investors that the project was being poorly managed, with the financial benefits accruing

  mainly to those in charge while players and investors were left with diminishing returns.

         111.    As part of an effort to determine whether there was any viable path forward for the

  project or if the community was interested in successor projects, prominent members of the Game

  of Silks community held a meeting with Defendant Troy Levy and a member of the Game of Silks

  Board of Directors in late July 2024.

         112.    On this call, the representatives of the Company disclosed several important pieces

  of information that were not previously known or confirmed. First, the director disclosed that in

  order for the Company to continue, it needed to bring in more than $20 million per year in revenue

  through continued NFT sales and other investments, but that the Company had only received

  approximately $7 million in revenue. The community of investors had never been told the

  magnitude of the cash flow shortage. In fact, despite claims that the Company would operate

  transparently to allow investors to see the flow of funds on blockchain, the defendants never

  released meaningful financial information. The Plaintiff and the Class had also never been told

  that the promised payments on the Season 1 Horse NFTs depended on the continued sales of later

  seasons of Horse NFTs.

         113.    Second, despite promoting the important role that Tropical Racing and Troy Levy

  played with the Company and the significance of their investment in the Company as a vote of




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  confidence, Troy Levy disclosed on the call that he and Tropical Racing had quietly sold their

  investment in the Company months earlier.

         114.    Third, when pressed by members of the community, Troy Levy disclosed that the

  Board had explored alternative strategic options, but that no amount of capital could save the

  Company at that point because the business model was not sustainable. The Investors were never

  previously informed of this critical information.

         G.      Game of Silks NFTs Are Securities Subject to Regulation Under the
                 Securities Act

         115.    Section 2(1) of the Securities Act defines the term security to mean

         any note, stock, treasury stock, security future, security-based swap, bond,
         debenture, evidence of indebtedness, certificate of interest or participation in any
         profit-sharing agreement, collateral-trust certificate, preorganization certificate or
         subscription, transferable share, investment contract, voting-trust certificate,
         certificate of deposit for a security, fractional undivided interest in oil, gas, or other
         mineral rights, any put, call, straddle, option, or privilege on any security, certificate
         of deposit, or group or index of securities (including any interest therein or based
         on the value thereof), or any put, call, straddle, option, or privilege entered into on
         a national securities exchange relating to foreign currency, or, in general, any
         interest or instrument commonly known as a “security”, or any certificate of interest
         or participation in, temporary or interim certificate for, receipt for, guarantee of, or
         warrant or right to subscribe to or purchase, any of the foregoing.

  15 U.S.C. § 77b(a)(1).

         116.    An investment contract includes transactions involving an investment of money in

  a common enterprise with the expectation of profits to come from the efforts of others.

         117.    The Securities are investment contracts and are securities subject to regulation

  under the Securities Act.

                 1.        The Securities Involved a Common Enterprise

         118.    The NFTs offered by Game of Silks involved a common enterprise because they

  required a pooling of the funds from investors, with the fortunes of each investor tied to the overall

  success of the Game of Silks platform. Each investor’s returns were contingent on the growth and


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  development of the platform, including the performance of their Horse NFTs, the success of the

  metaverse’s economic model, and the continued sale of additional NFTs to sustain the platform.

         119.    The sale of the NFTs was used by the Defendants to secure financial investment

  from the public, including the Plaintiff, for the purpose of developing the Game of Silks metaverse,

  integrating real-world data into the game, and funding player rewards. The proceeds from the sale

  of the NFTs were pooled together to fund the platform’s infrastructure, which included the

  development of the digital horse racing ecosystem, the creation of land-based assets, and the

  promised reward system that tied in real-world race winnings.

         120.    The Selling Defendants informed investors that the proceeds from these NFT sales

  would be used to develop the full Game of Silks metaverse, including features such as virtual

  stables, public barns, and in-game marketplaces. The pooling of investor assets was critical to

  developing the metaverse and the broader infrastructure, which was necessary for the platform to

  function. This created a shared outcome between the investors and the investment pool, as the

  success of these initiatives would directly impact the value of the NFTs owned by investors.

         121.    The success or failure of the Game of Silks platform directly impacted the value of

  the NFTs held by investors. If the metaverse and associated features (such as virtual stables and

  horse racing rewards) were successfully developed, the value of the NFTs would increase.

  However, failure to develop these aspects would have a negative impact, leading to a decrease in

  the value of the NFTs, as was evidenced by the project’s eventual collapse when the team failed

  to deliver key promised features.

         122.    Moreover, the NFTs also involved a common enterprise because the fortunes of the

  investors, including the Plaintiff, were closely tied to the fortunes of the Defendants and other

  promoters of the platform. The potential returns for investors were directly linked to the success




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  of the Game of Silks team and its ability to maintain the speculative value of the platform. The

  value of the NFTs depended on the Defendants’ efforts to develop the metaverse and execute on

  their promises regarding rewards and asset-backed returns. Without the Defendants’ continued

  efforts, the appreciation of the NFTs’ value could not be realized.

         123.    As such, the sale of these NFTs involved a common enterprise, as both horizontal

  and vertical commonality existed. The financial success of investors was directly dependent on

  the efforts of the Game of Silks team and the pooling of resources to develop the platform.

                 2.      The Securities Were Sold and Purchased With the Expectation of
                         Profits From the Efforts of Others

         124.    The NFTs were sold and purchased with the clear expectation of profits that would

  be generated by the continued efforts of the Defendants and others associated with the Game of

  Silks platform. The Defendants’ promotional, marketing, and solicitation activities explicitly

  fostered a reasonable belief among investors that these NFTs would appreciate in value over time.

  For example, the Defendants promoted the idea that the Horse NFTs were tied to real-world

  thoroughbred racehorses, and owners would receive a percentage of the winnings from real-life

  races, thus creating an expectation of passive income and profit.

         125.    The marketing efforts highlighted the opportunity to profit from both the racing

  performance and breeding success of the horses represented by the NFTs, emphasizing that as real-

  world horses won races and bred offspring, the value of the NFTs would rise. The Defendants

  also marketed the Land NFTs as virtual real estate, promising that players could avoid stabling

  penalties by owning land and even earn additional income by creating public stables where other

  players could stable their horses for a fee. These features were touted as long-term investments,

  generating future returns for the NFT holders.




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            126.   The generation of profits for NFT holders was fundamentally dependent on the

  continuous efforts of the managerial team, particularly their ability to develop and expand the

  Game of Silks metaverse. This included integrating real-world horse racing data, building out the

  virtual infrastructure (such as stables and marketplaces), and maintaining the value of the platform

  through marketing and attracting new players. Investors were led to believe that their profits would

  come from these efforts and that the Defendants’ success in promoting and developing the platform

  would directly translate into appreciation of the NFTs’ value.

            127.   Profits for the NFT holders were clearly designed to be derived from the efforts of

  the Defendants, who controlled the development, promotion, and future success of the platform.

  Without their involvement, the promised economic rewards could not be realized, and the value of

  the NFTs would fail to appreciate. As such, the expectation of profits in this case was entirely

  based on the efforts of others.

                   3.     The Sale and Purchase of the Securities Took Place in the United
                          States

            128.   The Defendants are all located in the United States and the Plaintiff is located in

  the United States.

            129.   The Securities were sold through the OpenSea platform, which is a decentralized

  marketplace for NFTs and whose headquarters is located in New York, NY, United States.

  Secondary sales also took place on OpenSea.

            130.   The Plaintiff purchased the Securities through the platform listed above.

            131.   The Defendants also marketed the Securities on websites that were based on in the

  United States, such as Twitter / X or YouTube.

            132.   Therefore, the purchase of the Securities by the Plaintiff took place in the United

  States.



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  V.      CLASS ACTION ALLEGATIONS

          133.    Plaintiff brings this class action under Rule 23(a) and (b)(3) of the Federal Rules of

  Civil Procedure on behalf of all purchasers of Game of Silks NFTs who were damaged thereby

  (the “Class”). Defendants and Defendants’ immediate families, legal representatives, heirs,

  successors, or assigns, and any entity in which any of the foregoing have or had a controlling

  interest are excluded from the Class.

          134.    The members of the Class are so numerous that joinder of all members is

  impracticable. While the exact number of Class members is unknown to Plaintiff at this time and

  can only be ascertained through appropriate discovery, Plaintiff believes that there are hundreds

  of members in the proposed Class. Members of the Class may be identified by Defendants’ own

  databases, cryptocurrency exchange databases, and blockchain data. Upon information and belief,

  these NFTs were held by hundreds of individuals located geographically throughout the country

  and world. For example, in an update on the Fourth Quarter 2022 performance provided in January

  2023, the team stated that there were more than 25,000 online community members and there were

  4,600 wallets that owned 15,000 in-game assets. Joinder would be highly impracticable.

          135.    Plaintiff’s claims are typical of those of the Class because Plaintiff and the Class

  purchased Game of Silks NFTs and sustained damages from Defendants’ wrongful conduct

  complained of herein.

          136.    Plaintiff will fairly and adequately protect the interests of the Class and has retained

  counsel who are competent and experienced in securities or consumer protection class action

  litigation. Plaintiff has no interests antagonistic to or in conflict with those of the Class.

          137.    Common questions of law and fact exist as to all members of the Class and

  predominate over any questions solely affecting individual members of the Class. Among the

  questions of law and fact common to the Class are:


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                 a)      Whether the Game of Silks NFTs are securities under the Securities Act;

                 b)      Whether Defendants’ offerings and sales of Game of Silks NFTs violate

         the registration provisions of the Securities Act;

                 c)      Whether Defendants omitted and/or misrepresented material facts

         regarding critical financial information about Game of Silks; and

                 d)      Whether the members of the Class have sustained damages and, if so, the

         proper measure of damages.

         138.    A class action is superior to all other available methods for the fair and efficient

  adjudication of this controversy since joinder of all members is impracticable. Treatment as a class

  will permit a large number of similarly situated persons to prosecute their common claims in a

  single forum simultaneously, efficiently, and without the duplication of effort and expense that

  numerous individual actions would require.

         139.    Class treatment will also permit the adjudication of claims by many Class members

  who could not afford individually to litigate claims such as those asserted in this Complaint. The

  cost to the court system of adjudication of such individualized litigation would be substantial. The

  prosecution of separate actions by individual members of the Class would create a risk of

  inconsistent or varying adjudications establishing incompatible standards of conduct for

  Defendants.

         140.    Plaintiff is unaware of any difficulties that are likely to be encountered in the

  management of this action as a class action.




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  VI.     CAUSES OF ACTION

                                               COUNT I
                    For Violations of Sections 5 and 12(a)(1) of the Securities Act
                                       Against All Defendants

          141.    Plaintiff repeats and realleges the allegations in paragraphs 1 through 140 above as

  if fully set forth herein.

          142.    This Count is asserted against all Defendants, and is based upon Sections 5 and

  12(a)(1) of the Securities Act, 15 U.S.C. §§ 77e, 77l(a)(1).

          143.    This Count expressly excludes and disclaims any allegation that could be construed

  as alleging fraud or intentional or reckless conduct, as this Count is solely based on claims of strict

  liability and/or negligence under the Securities Act.

          144.    For purposes of asserting this Count, Plaintiff and the Class do not allege that the

  defendants named in this Count acted with scienter or fraudulent intent, which are not elements of

  a Section 12(a)(1) claim.

          145.    The Securities are and were securities as defined by the Securities Act.

          146.    Unless a registration statement is in effect with respect to a security, Section 5(a)

  of the Securities Act makes it unlawful for any person

          (1) to make use of any means or instruments of transportation or communication in
          interstate commerce or of the mails to sell such security through the use or medium
          of any prospectus or otherwise; or (2) to carry or cause to be carried through the
          mails or in interstate commerce, by any means or instruments of transportation, any
          such security for the purpose of sale or for delivery after sale.”

  15 U.S.C. § 77e(a).

          147.    Section 5(c) also makes it unlawful for any person “to make use of any means or

  instruments of transportation or communication in interstate commerce or of the mails to offer to




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  sell or offer to buy through the use or medium of any prospectus or otherwise any security, unless

  a registration statement has been filed as to such security.” 15 U.S.C. § 77e(a).

          148.    A registration statement has never has been in effect, or even filed, to register the

  Securities with the SEC.

          149.    The sales and/or solicitations of the sale of the Securities used the internet as a

  means or instrument of communication in interstate commerce. For example, the Defendants

  promoted and sold the NFTs through the official Game of Silks website, as well as through major

  NFT marketplaces such as OpenSea. These platforms were accessible to individuals across state

  lines and internationally, allowing Defendants to reach a broad audience of potential buyers

  through internet-based advertisements and promotions. The Defendants also utilized social media

  platforms, including Twitter and Discord, to communicate with potential investors and solicit sales

  of the NFTs. These digital communications were integral to the sale of the Securities and

  facilitated the use of interstate commerce to market, promote, and ultimately sell the NFTs to a

  global audience.

          150.    Section 12(a)(1) of the Securities Act provides that any person who sells a security

  in violation of Section 5 is liable to

          the person purchasing such security from him, who may sue either at law or in
          equity in any court of competent jurisdiction, to recover the consideration paid for
          such security with interest thereon, less the amount of any income received thereon,
          upon the tender of such security, or for damages if he no longer owns the security.

  15 U.S.C. § 771(a)(1).

          151.    A person is liable under Section 12(a)(1) of the Securities Act if that person is a

  statutory seller, defined as a person who (1) passed titled, or other interest in the security, to the

  buyer for value, or (2) successfully solicited the purchase of securities, so long as the person is




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  motivated at least in part by a desire to serve his, her, or its own financial interests or those of the

  security’s owner.

            152.   Game of Silks passed title to the Securities to the Plaintiff and the Class, making it

  a statutory seller with regard to those sales.

            153.   Further, all Defendants and/or their agents made numerous public statements

  touting the Securities, their potential for profit, and encouraging the purchase of the Securities. As

  such these defendants solicited the purchase of the Securities for their own financial interest,

  making them statutory sellers of the Securities. These Defendants received significant financial

  compensation from the sales of the Securities.

            154.   This action is brought within one year after the sale or delivery of the Game of Silks

  NFTs to members of the Class and within three years of when the Securities were sold to the

  public.

            155.   By reasons of the foregoing, the Defendants are therefore liable for violations of

  Section 12(a)(1) of the Securities Act to the Plaintiff and the Class for Plaintiff’s and the Class’s

  purchases of unregistered Securities.

            156.   Plaintiff and the Class hereby tender their Securities back to the Defendants.

                                               COUNT II
                        For Violations of Section 12(a)(2) of the Securities Act
                                         Against Defendants

            157.   Plaintiff repeats and realleges the allegations in paragraphs 1 through 140 as if fully

  set forth herein.

            158.   This Count is asserted against Defendants, and is based upon 12(a)(2) of the

  Securities Act, 15 U.S.C. § 77l(a)(2).




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         159.    This Count expressly excludes and disclaims any allegation that could be construed

  as alleging fraud or intentional or reckless conduct, as this Count is solely based on claims of strict

  liability and/or negligence under the Securities Act.

         160.    For purposes of asserting this Count, Plaintiff and the Class do not allege that the

  defendants named in this Count acted with scienter or fraudulent intent, which are not elements of

  a Section 12(a)(2) claim.

         161.    Section 12(a)(2) of the Securities Act provides that:

         Any person who…offers or sells a security (whether or not exempted by the
         provisions of section 77c of this title, other than paragraphs (2) and (14) of
         subsection (a) of said section), by the use of any means or instruments of
         transportation or communication in interstate commerce or of the mails, by means
         of a prospectus or oral communication, which includes an untrue statement of a
         material fact or omits to state a material fact necessary in order to make the
         statements, in the light of the circumstances under which they were made, not
         misleading (the purchaser not knowing of such untruth or omission), and who shall
         not sustain the burden of proof that he did not know, and in the exercise of
         reasonable care could not have known, of such untruth or omission, shall be liable,
         subject to subsection (b), to the person purchasing such security from him, who
         may sue either at law or in equity in any court of competent jurisdiction, to recover
         the consideration paid for such security with interest thereon, less the amount of
         any income received thereon, upon the tender of such security, or for damages if he
         no longer owns the security.

         162.    The Securities are, and were, securities as defined by the Securities Act.

         163.    Unless a registration statement is in effect with respect to a security, Section 5(a)

  of the Securities Act makes it unlawful for any person

         (1) to make use of any means or instruments of transportation or communication in
         interstate commerce or of the mails to sell such security through the use or medium
         of any prospectus or otherwise; or (2) to carry or cause to be carried through the
         mails or in interstate commerce, by any means or instruments of transportation, any
         such security for the purpose of sale or for delivery after sale.”

  15 U.S.C. § 77e(a).

         164.    A registration statement has never has been in effect, or even filed, to register the

  Securities with the SEC.


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         165.       The sales and/or solicitations of the sale of the Securities used the internet as a

  means or instrument of communication in interstate commerce. For example, the Defendants

  promoted and sold the NFTs through the official Game of Silks website, as well as through major

  NFT marketplaces such as OpenSea. These platforms were accessible to individuals across state

  lines and internationally, allowing Defendants to reach a broad audience of potential buyers

  through internet-based advertisements and promotions. The Defendants also utilized social media

  platforms, including Twitter and Discord, to communicate with potential investors and solicit sales

  of the NFTs. These digital communications were integral to the sale of the Securities and

  facilitated the use of interstate commerce to market, promote, and ultimately sell the NFTs to a

  global audience.

         166.       From early 2023 through April 2024, in connection with the offer and sale of the

  Securities, Defendants made statements on the Internet, including Discord, X (formerly Twitter),

  and other social media channels that constitute as prospectuses or oral communications within the

  scope of the Securities Act.

         167.       Defendants made numerous untrue statements of material fact or omitted to state

  material facts necessary to make the statements made not misleading in subject matters related to

  the Securities.

         168.       The statements made contained untrue statements of material fact or omitted to state

  material facts necessary to make the statements made not misleading. Not only were these

  statements untrue or misleading when made, but Defendants did not correct them by the date of

  the individual purchases by Plaintiff, and thus the statements were untrue or misleading as of the

  date of the individual purchases.




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         169.    Specifically, Defendants repeatedly encouraged Plaintiff to invest in the Securities

  because of the supposed profits they could earn from the performance of the underlying real-world

  horses, the passive income from developing and renting stables, and other developments of the

  ecosystem.

         170.    These statements were false and misleading because, as alleged herein, Defendants

  did not disclose that the true economics of the Game of Silks project, including that the project

  would require more than $20 million in revenue each year to be successful, that key supporters of

  the project and sold their positions, and that no amount of additional capital would have save the

  project by the summer of 2024.

         171.    A person is liable under Section 12(a)(2) of the Securities Act if that person is a

  statutory seller, defined as a person who (1) passed titled, or other interest in the security, to the

  buyer for value, or (2) successfully solicited the purchase of securities, so long as the person is

  motivated at least in part by a desire to serve his, her, or its own financial interests or those of the

  security’s owner.

         172.    Game of Silks passed title to the Securities to the Plaintiff and the Class, making it

  a statutory seller with regard to those sales.

         173.    Further, all Defendants and/or their agents made numerous public statements

  touting the Securities, their potential for profit, and encouraging the purchase of the Securities. As

  such these defendants solicited the purchase of the Securities for their own financial interest,

  making them statutory sellers of the Securities. These Defendants received significant financial

  compensation from the sales of the Securities.

         174.    This action is brought within one year after the discovery of the untrue statements

  and omissions contained in the communications and within three years of when the Securities were




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  sold to the public. The true financial picture of the Company only became apparent in a discussion

  to a small group of investors in the summer of 2024.

          175.    By reasons of the foregoing, the Defendants are therefore liable for violations of

  Section 12(a)(2) of the Securities Act to the Plaintiff and the Class for Plaintiff’s and the Class’s

  purchases of the Securities pursuant to Defendants’ false and misleading prospectuses and

  communications.

          176.    Plaintiff and the Class hereby tender their Securities back to the Defendants.

                                              COUNT III
                          For Violations of Section 15 of the Securities Act
                              Against the Control Person Defendants

          177.    Plaintiff repeats and realleges the allegations in paragraphs 1 through 140 as if fully

  set forth herein.

          178.    This count is asserted against the Control Person Defendants and is based upon

  Section 15 of the Securities Act, 15 U.S.C. § 77o.

          179.    This Count expressly excludes and disclaims any allegation that could be construed

  as alleging fraud or intentional or reckless conduct, as this Count is solely based on claims of strict

  liability and/or negligence under the Securities Act.

          180.    For purposes of asserting this Count, Plaintiff and the Class do not allege that the

  defendants named in this Count acted with scienter or fraudulent intent, which are not elements of

  a Section 15 claim.

          181.    Section 15 of the Securities Act provides that:

          Every person who, by or through stock ownership, agency, or otherwise, or who,
          pursuant to or in connection with an agreement or understanding with one or more
          other persons by or through stock ownership, agency, or otherwise, controls any
          person liable under sections 77k or 77l of this title, shall also be liable jointly and
          severally with and to the same extent as such controlled person to any person to
          whom such controlled person is liable, unless the controlling person had no


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         knowledge of or reasonable ground to believe in the existence of the facts by reason
         of which the liability of the controlled person is alleged to exist.

         182.       An element of a claim for a violation of Section 15 by controlling persons is a

  primary violation of Section 12 of the Securities Act (15 U.S.C. § 77l) by a controlled person. As

  alleged in paragraphs 141 through 176 above, Game of Silks violated Sections 12(a)(1) and

  12(a)(2) of the Securities Act.

         183.       Dan Nissanoff, as the Chief Executive Officer and Founder of Game of Silks,

  participated in the operation and management of Game of Silks, and conducted and participated,

  directly and indirectly, in the conduct of Game of Silks’ business affairs, including the issuance of

  the Securities.

         184.       Because of his position of control and authority as the senior officer of Game of

  Silks, Dan Nissanoff was able to, and did, control the issuance of the unregistered Silks Horse

  NFTs, Avatar NFTs, and Land NFTs, which were unregistered securities, and the false and

  misleading statements of Game of Silks.

         185.       By virtue of the foregoing, Dan Nissanoff was a “controlling person” of Game of

  Silks within the meaning of Section 15 of the Securities Act.

         186.       Dan Nissanoff also had the power and influence, and exercised the same, to cause

  Game of Silks to engage in the acts described herein, including by causing Game of Silks to sell

  and promote the sale of unregistered securities in violation of the Securities Act, and the false and

  misleading statements of Game of Silks.

         187.       By reason of the above conduct, Dan Nissanoff is liable for Game of Silks’

  wrongful conduct to the same extent Game of Silks is liable under Section 12(a)(1) and 12(a)(2)

  of the Securities Act to Plaintiff who purchased the Securities.




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         188.    Troy Levy, as the Vice President and Founder of Game of Silks, and as the CEO of

  Tropical Racing Inc., participated in the operation and management of Game of Silks, particularly

  through his role in developing partnerships and leveraging his real-world connections in the horse

  racing industry to promote the Game of Silks platform and the sale of NFTs.

         189.    Because of his position of control and authority, Troy Levy was able to, and did,

  control the issuance of the unregistered NFTs, which were integral to the promotion and success

  of the platform.

         190.    By virtue of the foregoing, Troy Levy was a “controlling person” of Game of Silks,

  Inc. within the meaning of Section 15 of the Securities Act.

         191.    Troy Levy also had the power and influence, and exercised the same, to cause Game

  of Silks to engage in the acts described herein, including by causing Game of Silks to sell and

  promote the sale of unregistered securities in violation of the Securities Act, and the false and

  misleading statements of Game of Silks.

         192.    By reason of the above conduct, Troy Levy is liable for Game of Silks’ wrongful

  conduct to the same extent Game of Silks is liable under Section 12(a)(1) and 12(a)(2) of the

  Securities Act to Plaintiff who purchased the Securities.

         193.    Ron Luniewski, as the Chief Operating Officer of Game of Silks, participated in

  the operation and management of Game of Silks, particularly through his oversight of daily

  operations and strategic decision-making related to the platform’s development.

         194.    Because of his position of control and authority as Chief Operating Officer, Ron

  Luniewski was able to, and did, control the issuance of unregistered Silks Horse NFTs, Avatar

  NFTs, and Land NFTs, which were unregistered securities, and the false and misleading statements

  of Game of Silks.




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         195.    By virtue of the foregoing, Ron Luniewski was a “controlling person” of Game of

  Silks within the meaning of Section 15 of the Securities Act.

         196.    Ron Luniewski also had the power and influence, and exercised the same, to cause

  Game of Silks to engage in the acts described herein, including by causing Game of Silks to sell

  and promote the sale of unregistered securities in violation of the Securities Act, and the false and

  misleading statements of Game of Silks.

         197.    By reason of the above conduct, Ron Luniewski is liable for Game of Silks’

  wrongful conduct to the same extent Game of Silks is liable under Section 12(a)(1) and 12(a)(2)

  of the Securities Act to Plaintiff who purchased the Securities.

         198.    Derek Cribbs, as the Chief Financial Officer of Game of Silks, participated in the

  operation and management of Game of Silks, particularly through his financial oversight of the

  platform’s economic model and the handling of funds received from the sale of NFTs.

         199.    Because of his position of control and authority as Chief Financial Officer, Derek

  Cribbs was able to, and did, control the financial management and issuance of unregistered Silks

  Horse NFTs, Avatar NFTs, and Land NFTs, which were unregistered securities, and the false and

  misleading statements of Game of Silks.

         200.    Derek Cribbs also had the power and influence, and exercised the same, to cause

  Game of Silks to engage in the acts described herein, including by causing Game of Silks to sell

  and promote the sale of unregistered securities in violation of the Securities Act, and the false and

  misleading statements of Game of Silks.

         201.    By virtue of the foregoing, Derek Cribbs was a “controlling person” of Game of

  Silks within the meaning of Section 15 of the Securities Act.




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          202.    By reason of the above conduct, Derek Cribbs is liable for Game of Silks’ wrongful

  conduct to the same extent Game of Silks is liable under Section 12(a)(1) and 12(a)(2) of the

  Securities Act to Plaintiff who purchased the Securities.

                                              COUNT IV
                               In the Alternative, Unjust Enrichment
                                       Against All Defendants

          203.    Plaintiff repeats and realleges the allegations in paragraphs 1 through 140 above as

  if fully set forth herein.

          204.    This count is asserted, in the alternative, against all Defendants.

          205.    Through the conduct described herein, Defendants received and retained tangible

  benefits at the expense of the Plaintiff and the Class, including money and assets that Defendants

  received from their issuance, promotion, sale, and/or solicitation of sale of Game of Silks NFTs to

  Plaintiff and the Class members.

          206.    Under the principles of justice, equity, and good conscience, Defendants should not

  be permitted to retain the revenue they acquired through their unlawful conduct, i.e., their untrue

  statements of material fact or omissions of material fact in connection with the offer and sale of

  Game of Silks NFTs. All money, assets, and benefits Defendants have unjustly received because

  of their actions rightfully belong to the Plaintiff and the Class members.

          207.    To remedy Defendants’ unjust enrichment, the Court should order Defendants to

  immediately return Plaintiff’s investments and disgorge any amounts received by the Defendants

  as a result of their misconduct alleged herein.

  VII.    PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually and behalf of the Class, prays for relief and

  judgment as follows:



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        A.      Awarding Plaintiff and the Class damages in an amount that may be proven at trial,

                together with interest thereon;

        B.      Awarding Plaintiff and the Class members rescissory damages of the amount they

                paid in $ETH or $USD;

        C.      Awarding Plaintiff his reasonable attorneys’ and experts’ witness fees and other

                costs;

        D.      Awarding Plaintiff and the members of the Class pre-judgment and post-judgment

                interest; and

        E.      Awarding such other relief as this Court deems appropriate.

  VIII. JURY DEMAND

        Plaintiff request a trial by jury of all claims that can be so tried.

  Dated: March 6, 2025          Respectfully submitted,

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